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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                                    :
ROMAG FASTENERS, INC.,                              :
                                                    :      CIVIL ACTION NO.
                                     Plaintiff,     :      3:10CV1827(JBA)
                                                    :
                      v.                            :
                                                    :
FOSSIL, INC., ET AL.,                               :
                                                    :
                                     Defendants.    :      MARCH 27, 2014
                                                    :

                     PLAINTIFF ROMAG FASTENERS, INC.’S
                 SUPPLEMENTAL PROPOSED JURY INSTRUCTIONS

       Pursuant to Rule 51(a) of the Federal Rules of Civil Procedure, Plaintiff Romag

Fasteners, Inc. (“Romag”) submits the following supplemental proposed jury instructions.

       Romag contends that the First Sale or Exhaustion Defense has not been adequately pled

by any Defendant, and is therefore waived, and, in the alternative if not waived, then Defendants

have failed, as a matter of law, to meet their burden to provide sufficient evidence from which a

jury could reasonably conclude that Defendants have established such a defense. Submission of

the following proposed instruction is without prejudice to the foregoing arguments and does not

constitute a waiver of the foregoing arguments.
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       First Sale or Exhaustion Defense to Trademark and Patent Claims

       Defendants allege that they should not be liable for infringement of Romag’s trademark

or patent by application of the first sale or exhaustion defense.       A trademark owner has the

exclusive right to sell products bearing its trademark. Likewise, a patent owner has an exclusive

right to prevent others from making or selling the patented invention, as defined by the claims,

within the United States before the term of the patent expires. Once the product is sold by the

trademark or patent owner, or its licensee, the purchaser may transfer that product to another

without the trademark owner’s or patent owner’s permission. However, this right to transfer

only applies to the unit of the product actually sold, and not to other units of the product.

       To establish the first sale defense to trademark infringement or the exhaustion defense to

patent infringement, Defendants must prove by a preponderance of the evidence

       1. That the magnetic snap fasteners that Superior purchased from Hechuang for Fossil

           handbags from the period of August 2008 through November 2010 were made by

           Romag or its licensee, Wing Yip; and

       2. That Hechaung lawfully acquired the magnetic snap fasteners from Romag or Wing

           Yip.

       If you find that Defendants have proven the above elements by a preponderance of the

evidence, your verdict must be for Defendants on the claim for infringement of Romag’s

trademark and patent.
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Adapted from Eleventh Circuit, Civil Pattern Jury Instructions § 9.26 (2013); see Keurig, Inc. v.

Sturm Foods, Inc., 732 F.3d 1370, 1373 (Fed. Cir. 2013) (“Patent exhaustion is an affirmative

defense to a claim of patent infringement.”); Jazz Photo Corp. v. U.S., 439 F.3d 1344, 1350 (Fed.

Cir. 2006) (recognizing “a patent-exhausting first sale” as an affirmative defense to patent

infringement); Monsanto Co. v. Scruggs, 459 F.3d 1328, 1334 (Fed. Cir. 2006) (stating that

patent exhaustion is an affirmative defense); Vernor v. Autodesk, Inc., 621 F.3d 1102, 1107 (9th

Cir. 2010) (first sale doctrine is an affirmative defense to copyright infringement); Maya

Swimwear, Corp. v. Maya Swimwear, LLC, 789 F. Supp. 2d 506, 514 (D. Del. 2011) (“the

affirmative defense of the first sale doctrine or ‘trademark exhaustion’ prevents a finding of

liability . . . .”); Dan-Foam A/S v. Brand Named Beds, LLC, 500 F. Supp. 2d 296, 326 (S.D.N.Y.

2007) (stating that “first sale doctrine” is a “defense” to trademark infringement); Tanning

Research Labs., Inc. v. Worldwide Imp. & Exp. Corp., 803 F. Supp. 606, 609 (E.D.N.Y. 1992)

(authorized foreign sale is affirmative defense to trademark infringement); cf. MGE UPS

Systems, Inc. v. Fakouri Elec. Engineering, Inc., 422 F. Supp. 2d 724, 736 (N.D. Tex. 2006)

(holding that the defendant must prove a lawful chain of title as a required element of the first

sale defense); Microsoft Corp. v. Software Wholesale Club, Inc., 129 F. Supp. 2d 995, 1008

(S.D. Tex. 2000) (holding that the defendants did not meet their burden of proving lawful chain

of title as an element of the first sale doctrine); Microsoft Corp. v. Harmony Computers & Elec.,

Inc., 846 F. Supp. 208, 212 (E.D.N.Y. 1994) (holding that, in a copyright action, defendant has

burden to prove product that it resold was “lawfully made or acquired” from the copyright

holder).
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                                               ROMAG FASTENERS, INC.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 27, 2014, a copy of foregoing was filed electronically [and

served by mail on anyone unable to accept electronic filing]. Notice of this filing will be sent by

e-mail to all parties by operation of the Court’s electronic filing system.


                                                      /s/ David R. Schaefer
                                                      David R. Schaefer
